         Case 1:21-cr-00128-RC               Document 249           Filed 04/27/24         Page 1 of 2




                    UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                       Case No.: 1:21-cr-00128-RC

               v.


WILLIAM ALEXANDER POPE,

                           Defendant .

                MOTION FOR EARLY DISCLOSURE OF MATERIALS

        On April 24, 2024, the Court issued a Pretrial Order (ECF No. 240) but set no deadline

for the government to complete their disclosure of Brady, Giglio, Jencks, and Rule 404 materials.

In other January 6 cases, such as United States v. McKellop, 21-cr-00268-CJN, Document 136,

Pretrial Orders have included a deadline for the government to complete their disclosure

obligations by the deadline for filing the Joint Pretrial Statement. I therefore motion the Court to

require the government to produce any materials that will be needed for filing pretrial motions by

May 3, 2024, and for all other materials to be produced no later than June 28, 2024 (the date our

Joint Pretrial Statement is due).

        I am including Exhibit 1, which is a memorandum of law on these matters prepared by

A.J. Kramer, the Federal Public Defender, apparently back in the mid-1990s. This memorandum

reflects my position on this matter, and the Court should consider it my legal argument for this

motion. [If this is not an accepted practice, I would ask that the Court advise me as soon as

possible, so that I can refile this in whatever might be a more acceptable way].1


1
 My standby counsel tells me I should just copy and paste some standard motions since I am running out of time
to file, but I am not comfortable doing so because I do not want to ever be accused of plagiarism. Therefore, I am
attaching Mr. Kramer’s motion as an exhibit and giving him full credit for the legal arguments contained within.
   Case 1:21-cr-00128-RC           Document 249         Filed 04/27/24      Page 2 of 2




   Respectfully submitted to the Court,

                                                  By: William Pope

                                                      /s/


                                                  William Pope
                                                  Pro Se Officer of the Court
                                                  Topeka, Kansas




                                    Certificate of Service
I certify a copy of this was filed electronically for all parties of record on April 27, 2024.
                                              /s/
                              William Alexander Pope, Pro Se
